Case 1:24-cv-20805-KMM Document 236 Entered on FLSD Docket 01/17/2025 Page 1 of 4
    USCA11 Case: 25-10140 Document: 1-1 Date Filed: 01/15/2025 Page: 1 of 3


                                UNITED STATES COURT OF APPEALS
                                   FOR THE ELEVENTH CIRCUIT
                                   ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                 56 Forsyth Street, N.W.
                                                 Atlanta, Georgia 30303

   David J. Smith                                                                         For rules and forms visit
   Clerk of Court                                                                         www.ca11.uscourts.gov


                                               January 17, 2025
                                                                                                            JG
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   Appeal Number: 25-10140-H
   Case Style: Ya Mon Expeditions, LLC, et al v. YATCO, LLC
   District Court Docket No: 1:24-cv-20805-KMM

                                      CIVIL DOCKETING NOTICE

   The above-referenced appeal has been docketed in this Court. All documents filed in this appeal
   must include the Case Style and Appeal Number shown above.

   Appellant Requirements
   Unless the following requirements have already been satisfied, within 14 days of the date of
   this notice the appellant MUST:

         1. Pay to the District Court the Filing Fee OR File a Motion to Proceed In Forma
            Pauperis (IFP) in the district court. See FRAP 3(e), FRAP 24.

              If the filing fee is not paid and a motion to proceed IFP has not been filed in the
              district court within 14 days of the date of this notice, this appeal will be
              dismissed without further notice pursuant to 11th Cir. R. 42-1(b).
Case 1:24-cv-20805-KMM Document 236 Entered on FLSD Docket 01/17/2025 Page 2 of 4
    USCA11 Case: 25-10140 Document: 1-1 Date Filed: 01/15/2025 Page: 2 of 3




          If the district court has denied the appellant IFP status on appeal, the appellant
          has 30 days from the date of the district court's order to file an IFP motion in
          this Court. See FRAP 24(a)(5).

      2. File in the District Court a Transcript Order Form or a certificate stating no transcripts
         will be ordered. See FRAP 10(b) & the accompanying 11th Cir. IOP. (Not applicable in
         certain bankruptcy appeals. See FRAP 6(b)).

          If no transcripts are ordered, appellant's brief is due 40 days after 01/15/2025,
          except as otherwise provided by the rules. See 11th Cir. Rules 12-1 and 31-1.

      3. File a Certificate of Interested Persons and Corporate Disclosure Statement (CIP). See
         11th Cir. R. 26.1-1(a)(1).

      4. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

      5. File a Civil Appeal Statement (attorneys only). See 11th Cir. R. 33-1(a)(3).

   Mediation
   If a Civil Appeal Statement is required to be filed and the appeal is fully counseled on all sides,
   your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
   the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
   represented or pro se then the appeal is not eligible for mediation. See 11th Cir. R. 33-1.

   Appellee Requirements
   Unless the following requirements have already been satisfied, within 28 days of the date of
   this notice, all appellees participating in this appeal MUST:

      1. File a CIP or a notice. See 11th Cir. R. 26.1-1(a)(3).

      2. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

   Attorney Participation
   Only attorneys admitted to the bar of the Court and attorneys admitted for a particular
   proceeding may practice before the Court. See 11th Cir. Rules 46-1, 46-3, and 46-4. You may
   look up your bar admission status at https://www.ca11.uscourts.gov/bar-admission-status-look.
   The Application for Admission to the Bar and other forms and information can be found at
   https://www.ca11.uscourts.gov/attorney-forms-and-information.

   All attorneys (except court-appointed attorneys) who wish to participate in this appeal must file
   an Appearance of Counsel Form within 14 days of the date of this notice. See 11th Cir. R. 46-
   6(b). Please also see FRAP 46 and the corresponding circuit rules.

   Electronic Filing
   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
Case 1:24-cv-20805-KMM Document 236 Entered on FLSD Docket 01/17/2025 Page 3 of 4
    USCA11 Case: 25-10140 Document: 1-1 Date Filed: 01/15/2025 Page: 3 of 3



   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Obligation to Notify Court of Change of Addresses
   Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
   the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

   Additional Information
   Rules, forms, and additional information, including a handbook for pro se litigants, can be
   found at www.ca11.uscourts.gov.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                                       CIVIL - Notice of Docketing
Case 1:24-cv-20805-KMM Document 236 Entered on FLSD Docket 01/17/2025 Page 4 of 4
    USCA11 Case: 25-10140 Document: 1-2 Date Filed: 01/15/2025 Page: 1 of 2
